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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on August 11, 2021

UNITED STATES OF AMERICA

Vv.

RYAN SAMSEL

Defendant.

CRIMINAL NO.

MAGISTRATE NO. 21-MJ-188

VIOLATIONS:

18 U.S.C. § 231(a)(3)

(Civil Disorder)

18 U.S.C. §§ 111(a)(1) and (b), 2
(Assaulting, Resisting, or Impeding
Certain Officers Using a Dangerous
Weapon and Inflicting Bodily Injury)
18 U.S.C. §§ 1752(a)(4), (b)(1)(A),
(b)(1)@B), 2

(Engaging in Physical Violence in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon and
Resulting in Significant Bodily Injury)
40 U.S.C. § 5104(e)(2)(F), 2

(Act of Physical Violence in the Capitol
Grounds or Buildings)

18 U.S.C. §§ 1512(c)(2), 2

(Obstruction of an Official Proceeding)

INDICTMENT

The Grand Jury charges that:

COUNT ONE

On or about January 6, 2021, within the District of Columbia, RYAN SAMSEL,

committed and attempted to commit an act to obstruct, impede, and interfere with law enforcement

officers, that is, officers from the United States Capitol Police Department, lawfully engaged in

the lawful performance of their official duties incident to and during the commission of a civil
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disorder, and the civil disorder obstructed, delayed, and adversely affected the conduct and
performance of a federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT TWO

On or about January 6, 2021, within the District of Columbia, RYAN SAMSEL,
committed and attempted to commit an act to obstruct, impede, and interfere with law enforcement
officers, that is Officers from the United States Capitol Police guarding the lower West Terrace,
lawfully engaged in the lawful performance of their official duties incident to and during the
commission of a civil disorder, and the civil disorder obstructed, delayed, and adversely affected
the conduct and performance of a federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 23 1(a)(3))

COUNT THREE

On or about January 6, 2021, within the District of Columbia, RYAN SAMSEL, using a
deadly or dangerous weapon, that is, a metal crowd control barrier, did forcibly assault, resist,
oppose, impede, intimidate, and interfere with, officers and employees of the United States, and
of any branch of the United States Government (including any member of the uniformed services),
while such officers or employees were engaged in or on account of the performance of official
duties, that is, Officer C.E., an officer from the United States Capitol Police, and where the acts in
violation of this section involved physical contact with the victims and the intent to commit another

felony, and where the acts inflicted bodily injury on Officer C.E.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon,
Inflicting Bodily Injury, and Aiding and Abetting, in violation of Title 18, United States
Code, Sections 111(a)(1) and (b) and 2)
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COUNT FOUR
On or about January 6, 2021, within the District of Columbia, RYAN SAMSEL, did
forcibly assault, resist, oppose, impede, intimidate, and interfere with, officers and employees of
the United States, and of any branch of the United States Government (including any member of
the uniformed services), while such officers or employees were engaged in or on account of the
performance of official duties, that is, an officer from the United States Capitol Police guarding
the lower West Terrace, and where the acts in violation of this section involved physical contact

with the officer.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon,
Inflicting Bodily Injury, and Aiding and Abetting, in violation of Title 18, United States
Code, Sections 1 11(a)(1) and (b) and 2)

COUNT FIVE

On or about January 6, 2021, in the District of Columbia, RYAN SAMSEL, did knowingly
engage in any act of physical violence against any person and property in a restricted building and
grounds, that is, any posted, cordoned-off, and otherwise restricted area within the United States
Capitol and its grounds, where the Vice President and Vice President-elect were temporarily
visiting, and, during and in relation to the offenses, did use and carry a deadly and dangerous
weapon, that is, a metal crowd control barrier, and where the acts in violation of this section
resulted in significant bodily injury.

(Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or

Dangerous Weapon, Resulting in Significant Bodily Injury, and Aiding and Abetting,

in violation of Title 18, United States Code, Sections 1752(a)(4), (b)(1)(A), (b)(1)(B) and
2)
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COUNT SIX

On or about January 6, 2021, in the District of Columbia, RYAN SAMSEL, willfully and
knowingly engaged in an act of physical violence within the United States Capitol Grounds and
any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings and Aiding and

Abetting, in violation of Title 40, United States Code, Section 5104(e)(2)(F) and 2)

COUNT SEVEN

On or about January 6, 2021, within the District of Columbia and elsewhere, RYAN
SAMSEL, attempted to, and did, corruptly obstruct, influence, and impede an official proceeding,
that is, a proceeding before Congress, specifically, Congress’s certification of the Electoral College
vote as set out in the Twelfth Amendment of the Constitution of the United States and 3 U.S.C.

§§15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

A TRUE BILL:

FOREPERSON.

Chas Dihitps Ryde

Attorney of the United States in
and for the District of Columbia.
